Case 8:23-cr-00388-TPB-CPT Document 48 Filed 07/24/24 Page 1 of 5 PageID 124




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                             Case No. 8:23-cr-388-TPB-CPT

 MATTHEW FREDERIC BERGWALL
     a/k/a “MXB”

                         UNITED STATES’ MOTION
                       FOR AN ORDER OF FORFEITURE

      The United States moves this Court, pursuant to 18 U.S.C. § 981(a)(1)(C), 28

U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b)(2), to enter an order of forfeiture

against the defendant in the amount of $224,030, representing the amount of

proceeds he personally obtained as the result of the mail fraud conspiracy charged in

Count Two of the Indictment. In support thereof, the United States submits the

following.

                            MEMORANDUM OF LAW

I.    Statement of Facts

      A.     Allegations Against the Defendant

      1.     In pertinent part, the defendant was charged in an Indictment with mail

fraud conspiracy, in violation of 18 U.S.C. § 1349 (Count Two). Doc. 1.

      2.     The Indictment contained forfeiture allegations putting the defendant

on notice that, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), the

United States would seek to forfeit any property constituting, or derived from
Case 8:23-cr-00388-TPB-CPT Document 48 Filed 07/24/24 Page 2 of 5 PageID 125




proceeds the defendant obtained, directly or indirectly, as a result of such violation,

including, but not limited to, an order of forfeiture. Id. at 8-9.

       B.     Findings of Guilt and Admissions Related to Forfeiture

       3.     The defendant pleaded guilty to Count Two of the Indictment. Docs. 44

and 46. The Court accepted the defendant’s plea and adjudicated him guilty. Doc.

47.

       4.     The defendant admitted in his Plea Agreement that he personally

obtained $224,030 in proceeds from the mail fraud conspiracy charged in Count One

of the Indictment. Doc. 39 at 19-21.

       5.     Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), the

defendant admitted and agreed that the United States was entitled to an order of

forfeiture in the amount of $224,030, representing the amount of proceeds the

defendant personally obtained as a result of the conspiracy offense. Doc. 39 at 10.

Moreover, the defendant agreed that the order of forfeiture should be final upon

entry. Id. at 11.

II.    Applicable Law

       A.     Forfeiture Statute

       Forfeiture in this case is governed by 18 U.S.C. § 981(a)(1)(C), which provides

for the civil forfeiture of any property, real or personal, that constitutes or is derived

from proceeds traceable to a violation of any offenses constituting “specified

unlawful activity” (as defined in section 1956(c)(7) of this title). A violation of 18

                                             2
Case 8:23-cr-00388-TPB-CPT Document 48 Filed 07/24/24 Page 3 of 5 PageID 126




U.S.C. § 1349 is a “specified unlawful activity” under 18 U.S.C. § 1956(c)(7). See 18

U.S.C. § 981(a)(1)(C) and 18 U.S.C. § 1956(c)(7)(D). Pursuant to 28 U.S.C. §

2461(c), the United States is authorized to forfeit this property criminally utilizing

the procedures set forth in 21 U.S.C. § 853.

      B.     Court’s Determination of Forfeiture

      Pursuant to Rule 32.2(b)(2), because the United States could not locate all of the

specific property constituting or derived from the proceeds the defendant obtained

from his mail fraud conspiracy offense, the United States seeks an order of forfeiture

against the defendant in the amount of proceeds he obtained from his offense. Indeed,

for cases in which a defendant no longer has the actual dollars or property traceable to

proceeds in his/her possession, or the government cannot locate those assets, the

obligation to forfeit simply takes the form of an order of forfeiture in favor of the

United States. See United States v. Padron, 527 F.3d 1156, 1161-62 (11th Cir. 2008).

      Rule 32.2(b)(1) provides that the court must determine the amount of money

that the defendant will be ordered to pay. The Court’s determination may be

based on evidence submitted by the parties and accepted by the Court as relevant

and reliable. Fed. R. Crim. P. 32.2(b)(1)(B). As the defendant has agreed, he

personally obtained $224,030 in proceeds as a result of the mail fraud conspiracy. If

the Court finds that the defendant obtained at least $224,030 as a result of his mail

fraud conspiracy offense and that the defendant has dissipated those proceeds, then it




                                            3
Case 8:23-cr-00388-TPB-CPT Document 48 Filed 07/24/24 Page 4 of 5 PageID 127




is appropriate for the Court to enter an order of forfeiture against the defendant in

that amount pursuant to Rule 32.2(b)(2).

III.   Conclusion

       For the reasons stated above, the United States requests that the Court,

pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed. R. Crim. P.

32.2(b)(2), enter an Order of Forfeiture against the defendant in the amount of

$224,030.

       As required by Federal Rule of Criminal Procedure 32.2(b)(4)(B), the United

States requests that the Court include the forfeiture when orally pronouncing the

sentence and include the forfeiture order, directly or by reference, in the judgment.

See Fed. R. Crim. P. 32.2(b)(4)(A) and (B).

       In accordance with Rule 32.2(b)(4) and the defendant’s plea agreement (Doc.

39 at 11), the United States asks that the order of forfeiture be made final as to the

defendant at the time it is entered.




                                            4
Case 8:23-cr-00388-TPB-CPT Document 48 Filed 07/24/24 Page 5 of 5 PageID 128




       Finally, the United States further requests that the Court retain jurisdiction to

order any substitute assets forfeited to the United States up to the amount of the

order of forfeiture.

                                                 Respectfully Submitted,

                                                 ROGER B. HANDBERG
                                                 United States Attorney


                                          By: s/James A. Muench
                                              JAMES A. MUENCH
                                              Assistant United States Attorney
                                              Florida Bar Number 472867
                                              400 North Tampa Street, Suite 3200
                                              Tampa, Florida 33602
                                              (813) 274-6000 – telephone
                                              E-mail: james.muench2@usdoj.gov


                           CERTIFICATE OF SERVICE

      I hereby certify that on July 24, 2024, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system that will send a notice of

electronic filing to counsel of record.


                                                  s/James A. Muench
                                                  JAMES A. MUENCH
                                                  Assistant United States Attorney




                                             5
